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                    UNITED STATES COURT OF APPEALS
                                                                    FILED
                           FOR THE NINTH CIRCUIT
                                                                    SEP 30 2024
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




 M.H. and T.B.,                                No. 23-35485

               Plaintiffs - Appellees,
                                               D.C. No. 1:22-cv-00409-REP
   v.                                          U.S. District Court for Idaho, Boise

 DR. MAGNI HAMSO, in her official              MANDATE
 capacity as the Medical Director of the
 Idaho Division of Medicaid and
 individually,

               Defendant - Appellant,

  and

 DAVE JEPPESEN, in his official
 capacity as the Director of the Idaho
 Department of Health and Welfare and
 IDAHO DEPARTMENT OF HEALTH
 AND WELFARE,

               Defendants.


        The judgment of this Court, entered September 06, 2024, takes effect this

date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.
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                                     FOR THE COURT:

                                     MOLLY C. DWYER
                                     CLERK OF COURT
